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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

PALM TRAN, INC.                   Case No. 20-cv-12698
AMALGAMATED TRANSIT UNION
LOCAL 1577 PENSION PLAN,          Hon. Linda V. Parker
Individually and On Behalf of All
                                  Magistrate Judge Elizabeth A. Stafford
Others Similarly Situated,

                          Plaintiff,
                  v.

CREDIT ACCEPTANCE
CORPORATION, BRETT A.
ROBERTS, and KENNETH S.
BOOTH,
                  Defendants.

                             NOTICE OF APPEARANCE
      PLEASE TAKE NOTICE that Sharon S. Almonrode of The Miller Law

Firm, P.C. hereby enters her appearance as counsel of record on behalf of Plaintiffs

in the above captioned matter.

      Dated: October 2, 2020                Respectfully submitted,

                                            /s/ Sharon S. Almonrode_________
                                            Sharon S. Almonrode (P33938)
                                            THE MILLER LAW FIRM, P.C.
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                                            Rochester, MI 48307
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 2, 2020 I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.

                                                 /s/ Sharon S. Almonrode_________
                                                Sharon S. Almonrode (P33938)
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